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 2   CALIFORNIA STATE BAR NUMBER 123357
     LAW OFFICES OF JAMES R. GREINER
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 5
     FAX: (916) 920-7951
 6   E mail: jaygreiner@midtown.net
 7
     ATTORNEY FOR DEFENDANT
 8   MATTHEW BOYLE
 9

10              IN THE UNITED STATES DISTRICT COURT FOR THE
11

12                        EASTERN DISTRICT OF CALIFORNIA
13

14
     UNITED STATES OF AMERICA, )               CR-S-13-332--GEB
15                             )
16
         PLAINTIFF,            )             AGREEMENT AND STIPULATION
                               )             BETWEEN THE PARTIES
17                v.           )             REGARDING CONTINUING THE
18                             )             JUDGMENT AND SENTENCING
     MATTHEW BOYLE, et al.,    )             DATE TO FRIDAY,
19
                               )             DECEMBER 11, 2015 AND
20                             )             [PROPOSED] ORDER
                               )
21
                  DEFENDANTS. )
22   __________________________)
23

24           Plaintiff       United     States      of    America,      by      and
25   through its counsel of record, Mr. Todd A. Pickles, and
26   defendant Tina Marie Bini by and through her counsel of
27   record, Ms. Candace A. Fry, and Matthew Boyle by and
28

     Agreement and Stipulation to Continue Judgment and Sentencing to Friday,

     December 11, 2015 as to both Defendants - 1
            Case 2:13-cr-00332-DAD Document 80 Filed 11/02/15 Page 2 of 4


 1
     through his counsel of record, Mr. James R. Greiner,
 2
     hereby agree and stipulate as follows:
 3

 4
                      1- By previous order (See Docket numbers
 5                    62 and 77) this matter was set for
                      Judgment and Sentencing on Friday, October
 6
                      30, 2015, as to both defendants;
 7

 8
                      2- By this agreement and stipulation, both
                      the government and both the defendants now
 9                    move to continue the Judgment and
10                    Sentencing to Friday, December 11, 2015.
11
                      3- The United States joins in this
12                    request.
13
                      4. The government needs more time to file
14                    documents with the Court and the defense
15
                      will need more time once those documents
                      are filed to review them, discuss them
16                    with their respective clients and file, if
17                    needed, any documents with the Court.
18
         The parties have given authority to James R.
19   Greiner to sign on their behalf.
20
          IT IS SO AGREED TO AND SO STIPULATED TO;
21

22

23

24

25

26   DATED: 10-29-15         BENJAMIN B. WAGNER
                             United States Attorney
27

28

     Agreement and Stipulation to Continue Judgment and Sentencing to Friday,

     December 11, 2015 as to both Defendants - 2
            Case 2:13-cr-00332-DAD Document 80 Filed 11/02/15 Page 3 of 4


 1                           /s/ TODD A. PICKLES
 2                           _______________________
                             TODD A. PICKLES
 3
                             Assistant United States Attorney
 4
     DATED: 10-29-15
 5

 6                           /s/ CANDACE FRY
 7
                             _________________________
                             CANDACE FRY, ESQ.
 8                           Attorney for Defendant
 9                           Tina Bini
10
     DATED: 10-29-15         /s/ James R. Greiner
11
                             _______________________________
12
                             James R. Greiner
13                           Attorney for Defendant
14
                             Matthew Boyle

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24                               (Proposed)ORDER
25

26

27                    FOR GOOD CAUSE SHOWN
28

     Agreement and Stipulation to Continue Judgment and Sentencing to Friday,

     December 11, 2015 as to both Defendants - 3
            Case 2:13-cr-00332-DAD Document 80 Filed 11/02/15 Page 4 of 4


 1

 2
                      IT IS SO FOUND AND ORDERED.
 3

 4   Dated:     October 30, 2015
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     Agreement and Stipulation to Continue Judgment and Sentencing to Friday,

     December 11, 2015 as to both Defendants - 4
